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                 Exhibit A
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             12                              UNITED STATES DISTRICT COURT

             13          NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
             14

             15 MARCIANO PLATA, et al.,                     CASE No. 01-1351 JST
             16
                               Plaintiffs,                  [PROPOSED] ORDER REGARDING
             17                                             STAFF TESTING FOR COVID-19
                        v.
             18

             19 GAVIN NEWSOM, et al.,

             20                Defendants.
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             28
                                                           -1-                     Case No. 01-1351 JST
15971294.2        [PROPOSED] ORDER REGARDING STAFF TESTING FOR COVID-19
      Case 4:01-cv-01351-JST Document 3351-1 Filed 06/10/20 Page 3 of 4




 1         The Joint Case Management Conference Statement filed by the parties on June 8,
 2 2020 states that 194 medically high risk patients were transferred from the California

 3 Institution for Men (CIM) to San Quentin State Prison (SQ) and California State Prison,

 4 Corcoran (CSP-COR) between May 28 and May 30. See ECF 3345 at 9-10. The patients

 5 who were transferred had previously tested negative for COVID-19, but in many cases the

 6 tests were done two to three weeks before the transfer. Id. Unfortunately, some of those

 7 people tested positive shortly after their arrival at SQ and CSP-COR. Id. Prior to the

 8 transfer, SQ had no confirmed cases of COVID-19 in the incarcerated population. Id. at

 9 10. The Receiver has since ordered the suspension of all transfers from CIM, and is

10 reconsidering a testing strategy for all transfers. Id. at 9-10.

11         The Receiver has also identified prison staff as the main vector for spreading
12 COVID-19 in the state prisons, and has recommended that all staff at all institutions be

13 tested for COVID-19. Id. at 3. According to the parties’ Statement, “Defendants agree

14 that staff testing is critical, and are developing a staff-testing plan with assistance and

15 guidance from the California Department of Public Health.” Id.

16         Given the urgency of this issue, this Court issued the following order regarding staff
17 testing for COVID-19 from the bench during the June 9 Case Management Conference.

18 This written order is issued to memorialize that bench order.

19         IT IS HEREBY ORDERED:
20         1.      All custodial and medical staff who had contact during the transfer process
21 with any incarcerated person who transferred from the California Institution for Men

22 (CIM) and into San Quentin State Prison (SQ) or California State Prison, Corcoran (CSP-

23 COR) between May 28, 2020 and May 30, 2020 shall be tested for COVID-19 by June 11,

24 2020.

25         2.      All remaining staff at SQ and CSP-COR shall be tested by June 15, 2020.
26         3.      Defendants shall produce to Plaintiffs a plan for testing all staff at all prisons
27 in the California Department of Corrections and Rehabilitation by June 16, 2020.

28
                                                    -2-                             Case No. 01-1351 JST
     [PROPOSED] ORDER REGARDING STAFF TESTING FOR COVID-19
      Case 4:01-cv-01351-JST Document 3351-1 Filed 06/10/20 Page 4 of 4




 1
           IT IS SO ORDERED.
 2

 3         Dated: June __, 2020                     ________________________________
                                                    THE HONORABLE JON S. TIGAR
 4                                                  UNITED STATES DISTRICT COURT
                                                    JUDGE
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                                              -3-                       Case No. 01-1351 JST
     [PROPOSED] ORDER REGARDING STAFF TESTING FOR COVID-19
